Case 1:22-cv-00208-CJB        Document 62       Filed 02/07/25     Page 1 of 2 PageID #: 1930




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 PHYLLIS CARSON; LORNE COSMAN;               )
 WILLIAM DRAPER; PHILLIP ERICKSON;           )
 TERENCE GRANER; DONALD HARMAN;              )
 SARAH HOUSEHOLDER; TRUDY LETSON; )
 SABINE MILLER; DIANA HOBERT-POWELL; )
 JANET PURVIS; PATRICIA ROBERTS; CAROL )
 SCHAUER; CARA WASHINGTON; STEPHEN )
 KAPLITT; MICHAEL DOBKIN; CHERYL             ) C.A. No. 22-208-CJB
 MEOLA; DIANE DRAKE; CHRISTOPHER             )
 NIND; ROSE CARINA; BRUCE WILLIAMS; )
 ANTHONY HARRIS; TIMUR SAKHARUK;             )
 ROBERT DIMARTINO; IAN PERRY; STEPHE )
 LUTHER; GREGORY ORENSKI; RODNEY             )
 NASH; and DEBORAH THELEN, individually a )
 on behalf of all others similarly situated, )
                                             )
        Plaintiffs,                          )
                                             )
  v.                                         )
                                             )
 HP INC.,                                    )
                                             )
        Defendant.                           )

                          DEFENDANT’S MOTION TO DISMISS

       Defendant HP Inc. (“HP”), by and through its undersigned counsel, respectfully moves to

dismiss Plaintiffs’ Third Amended Class Action Complaint (D.I. 58). The grounds for this motion

are set forth in HP’s Opening Brief in Support of Defendant’s Motion to Dismiss Plaintiffs’ Third

Amended Class Action Complaint, filed contemporaneously herewith.
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 Dated: February 7, 2025




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